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 1
   LINDA FULLERTON (83444)
 2 PAUL FEUERWERKER (203616)
   54 Railroad Ave.
 3 Pt. Richmond, Ca 94801
   Telephone: 510-232-4000
 4
   Fax: (510)-237-2898
 5 ATTORNEYS FOR GREGORY LEE

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11                           UNITED STATES OF DISTRICT COURT

12                            EASTERN DISTRICT OF CALIFORNIA
13

14

15 UNITED STATES OF AMERICA                          CASE NO. 2:17-cr-00060-MCE

16
                          Plaintiff,
17

18
             v.                                      STIPULATION AND ORDER
                                                     GRANTING CONTINUANCE OF
19 GREORY LEE,                                       GREGORY LEE’S SENTENCE

20                 Defendant.
21
   ______________________________/

22

23           Client Gregory Lee requests that this sentencing date be continued until January

24 17, 2019 at 10:00 a.m. The AUSA has no objection and probation is available on that

25
     date.
26
     ///
27
     ///
28
           Case 2:17-cr-00060-DAD-DB Document 145 Filed 01/02/19 Page 2 of 2


1
     Dated: November 30, 2018
2                                                  Respectfully Submitted

3                                                  ________/s/________________
                                                   Linda Fullerton
4
                                                   Attorney For Gregory Lee
5

6                                                  _________/s/________________
                                                   GRANT B. RABENN
7
                                                   Assistant United States Attorney
8

9                                          ORDER
10
           It is hereby ordered that the sentencing of Gregory Lee be vacated and
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     continued from December 13, 2018 to January 17, 2019 at 10:00 a.m. in courtroom 7.
12
           IT IS SO ORDERED.
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14 Dated: December 29, 2018

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